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                                                                               2020 Feb-03 PM 03:36
                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ALABAMA
                             WESTERN DIVISION

PHILLIP C. STEARMAN AND                   )
TRISTAN STEARMAN,                         )
                     Plaintiffs,          )
                                          )
v.                                        )
                                          )
VESPER TUSCALOOSA, LLC,                          Case No. 7:19-cv-1202-LSC
                                          )
PROCOLLECT, INC., EQUIFAX
                                          )
INFORMATION SERVICES, LLC,
                                          )
and TRANS UNION, LLC,
                                          )
              Defendants.
                                          )
                                          )

  STIPULATION OF DISMISSAL WITH PREJUDICE OF TRANS UNION
                            LLC

TO THE HONORABLE JUDGE COOGLER:

        Plaintiffs Phillip C. Stearman and Tristan Stearman, and Defendant Trans

Union LLC file this Stipulation of Dismissal with Prejudice and in support thereof

would respectfully show the Court as follows:

        There are no longer any issues in this matter between Phillip C. Stearman

and Tristan Stearman and Trans Union LLC to be determined by this Court.

Plaintiff and Trans Union LLC hereby stipulate that all claims and causes of action

that were or could have been asserted against Trans Union LLC are hereby

dismissed with prejudice, with court costs and attorneys’ fees to be paid by the

party incurring same.


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                                       Respectfully submitted,

                                       /s/ Earl P. Underwood, Jr.
                                       Earl P Underwood, Jr
                                       epunderwood@gmail.com
                                       Underwood & Riemer, PC
                                       21 South Section Street
                                       Fairhope, AL 36532
                                       (251) 990-5558 Telephone
                                       (251) 990-0626 Facsimile
                                       Counsel for Plaintiff


                                       Respectfully submitted,


                                       /s/ Matthew Robinett (With Permission)
                                       Matthew Robinett
                                       mrobinett@nwkt.com
                                       Norman Wood Kendrick & Turner
                                       1130 22nd Street South, Suite 3000
                                       Birmingham, AL 35205
                                       (205) 328-6643
                                       (205) 251-5479 Fax
                                       Counsel for Trans Union LLC




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                           CERTIFICATE OF SERVICE

        I hereby certify that on February 3, 2020, the foregoing document is being
served this day on all counsel of record identified on the below Service List via
transmission of Notices of Electronic Filing generated by CM/ECF.

 Earl P Underwood, Jr                       Clay A Tindal
 epunderwood@gmail.com                      clay@tindalfirm.com
 Underwood & Riemer, PC                     Tindal Law LLC
 21 S Section Street                        2200 University Blvd
 Fairhope, AL 36532                         Tuscaloosa, AL 35401
 (251) 990-5558                             (205) 208-9876
 (251) 990-0626 Fax                         (205) 238-6799 Fax
 Counsel for Plaintiff                      and
                                            Troy T. Tindal
                                            troy@tindallaw.net
                                            Law Office of Troy Tindal
                                            460 S. Forest Avenue
                                            Luverne, AL 36049
                                            (334) 429-4025
                                            Counsel for Vesper Tuscaloosa, LLC

 Jason L Yearout                            Kirkland E Reid
 jyearout@yearout.net                       kreid@joneswalker.com
 Yearout & Traylor P.C                      Jones Walker LLP
 3300 Cahaba Road, Suite 300                11 N. Water Street, Suite 1200
 Birmingham, AL 35223                       Mobile, AL 36602
 (205) 414-8160                             (251) 432-1414
 (205) 414-8199 Fax                         (251) 439-7358 Fax
 Counsel for ProCollect, Inc.               Counsel for Equifax Information
                                            Services, LLC


                                       /s/ Earl P. Underwood, Jr.
                                       Earl P. Underwood, Jr.




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